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lN THE UN|TED STATES D|STR|CT COURT
NORTHERN D|STR|CT OF OKLAHOMA

9 BRENDA PALMER,
an individua|,
Plaintiff,

 

Case No.
/-\ttorney Lien Claimed
Jury Tria| Demanded

VS.

99 FARMERs leuRANcE c_o., lNc.,
a foreign insurance corp’ora'tion,
Defendant.

V\./`rv\_/\./vv\_/\./

17CV 676JHP _FHM

COMPLA|NT
COMES NOW the Plaintiff, Brenda Palmer (“Palmer”) and for her Complaint

alleges and states the following against the Defendant, Farmers insurance Company,

»»`.=» " lnc. (“Farmers”):
1. That Plaintiff Palmer is a resident of Tulsa County, State of Oklahoma;
2. That Defendant Farmers insurance Company, a foreign insurance

corporation, is the Ull\/l insurer for Palmer and is a registered insurer authorized to sell
insurance and is conducting business in the state of Oklahoma and Tulsa County;

3. That the underlying event herein is an auto crash and subsequent claim
upon Palmer’s related Ull\/l auto policy. `l;he actions complained of herein occurred in
Tulsa County, State of Oklahoma;

4. That this Court has diversity jurisdiction over the parties in this lawsuit, 28
USC §1332, and venue is proper in the Northern District of Oklahoma;

5. That on or about July 24, 2017, in Tulsa County, Ok|ahoma, a tortfeasor

drove a vehicle in a manner that Was clearly negligent on the public roads causing a

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hard impact crash with a vehicle driven by F’almerl Palmer was not at fault and her
vehicle suffered devastating damage and was a total loss. (Photos, Exhibit “A”);

6. That as a result of the above automobile crash, Palmer suffered temporary
and permanent personal injuries that included: abdominal contusion, abrasions, closed
displaced fracture of left clavicle - Acute Fracture l\/lidportion of Left Clavicle, overlap
and distraction of fracture fragments. As a result, Ms. Palmer had to undergo surgery
under general anesthesia for an “open reduction internal fixation” of her left clavicle with
bone plate & screw placement (see Photos, Exhibit “B”). ln addition, Palmer will have to
later undergo surgery, under general anesthesia, to remove the bone plate and screws;

7. As a result of her related injuries, Palmer is entitled to damages regarding
physical injuries, medical expenses, pain and suffering (past, present and future),
mental suffering (past, present and future), loss of certain physical abilities, loss of
wages, loss of enjoyment of life and any temporary and permanent disability resulting
there from;

Count l: BREACH OF CONTRACT

The Plaintiff, Brenda Palmer, for her breach of contract claim against the
Defendant, Farmers insurance Company, lnc., hereby adopts and re-alleges the
statements and averments above and further alleges and states:

8. That at the time of the subject automobile crash, Palmer was covered

under an uninsured/underinsured motorist (Ull\/|) policy with Farmers;

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9. That the reasonable value of Palmer’s related claims well exceeded the
available auto liability coverage and the Ull\/l policy amount combined; 1

10. That Palmer has made demand upon the Defendant, Farmers insurance
Company, lnc., to pay her full benefits due under the Uii\/l policy;

11. That, at the least, Farmers has failed and refused to pay the full benefit
amount available under the Ull\/l policy, failed to adequately communicate its valuation
of the claim, failed to make and place an adequate or fair valuation on the claim; failed
to conduct a fair and adequate investigation of the claim, and therein breached its duty
to Palmer, as its insured, under the terms of the policy;

12. As a direct result of Farmers’ refusal to pay the entire value of the Ull\/l
claim, Palmer has suffered damages and been required to resort to litigation to recover
the full amount of her Ull\/l benefits that should have been paid under her policy;

13. That Palmer has been forced and compelled to hire an attorney to prosecute
this action and is entitled to recover her costs and attorney fees associated with this
case;

WHEREFORE, premises considered, Plaintiff, Brenda Palmer, prays for a
judgment against the Defendant, Farmers insurance Company, lnc., for a sum in
excess of $75,000.00, plus attorney fees, costs, interest and any further relief this Court
deems just and equitable

ATTORNEY LlEN CLAlMED
JURY TR|AL DEMANDED

 

1 Ciaims against the first party tortfeasor were resolved and Farmers Waived subrogation
interest therein.
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Respectfully Submitted,

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Til\/l GlLPlN, OBA #11844

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TULSA, OK 74119
timgilpin@gilpinlaw.net

(918) 583-8900 telephone

(918) 796~5724 fax

Attorney for Plaintiff, Brenda Palmer

 

VER|F|CAT|ON
STATE OF OKLAHOMA )

) ss.
COUNTY OF TULSA )

i, Brenda Palmer, being of lawful age, being first duly sworn upon my individual
oath, depose and state that l am the Plaintiff in the above Comp|aint, that l have read
and understand the contents contained in the foregoing Petition and further state that

same are true anc§o§r:ct to the best of my knowledge
trz§l>°t l 3 ~ 13~ 30 l *1

Brenda Palmer ' Date

SUBSCR|BED AND SWORN to before me this /5 day Of

, 2017. l
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NOTARY PUBL|C
My Commission Expires:

 
     
   
      

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Crashed Auto Photos

EXHIBIT "A”

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Radiology Films/Copies

EXHIBIT “B”

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